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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL
  FOUNDATION,
  611 Pennsylvania Ave SE #231
  Washington, DC 20003

                       Plaintiff,                 Civil Action No.: 22-1901

                v.

  U.S. DEPARTMENT OF
  EDUCATION,
  400 Maryland Ave., SW
  Washington, DC 20202

                       Defendant.


                                    COMPLAINT

      1.      Plaintiff America First Legal Foundation (“AFL”) brings this action

against Defendant U.S. Department of Education (“Education”) to compel compliance

with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.      This Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
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                                      PARTIES

      4.      AFL is a nonprofit organization working to promote the rule of law in

the United States, prevent executive overreach, ensure due process and equal

protection for all Americans, and encourage public knowledge and understanding of

the law and individual rights guaranteed under the United States Constitution and

the laws of the United States. AFL’s mission includes promoting government

transparency and accountability by gathering official information, analyzing it, and

disseminating it through reports, press releases, and/or other media, including social

media platforms, all to educate the public. All of the records AFL receives will be

made publicly available on AFL’s website for citizens, journalists, and scholars to

review and use. AFL’s principal office is located in the District of Columbia.

      5.      Education is an agency of the federal government within the meaning of

5 U.S.C. § 552(f) and has possession and control of the records AFL seeks.

                                  BACKGROUND

      6.      Transparency is key to a thriving democracy. Without it, it is impossible

for citizens to hold Government accountable.

      7.      Indeed, the Biden Administration routinely states that it is committed

to a transparent, open, and ethical government. 1



1   FACT SHEET: Biden-Harris Administration Prioritizes Effectiveness,
Accountability, and Transparency in Bipartisan Infrastructure Law Implementation,
THE WHITE HOUSE (Apr. 29, 2022), https://tinyurl.com/bdhrccyk; Biden White House
pledges data, transparency, respect for free press, REUTERS (Jan. 20, 2021),
https://tinyurl.com/3fzz25mf; Mark Joyella, Biden’s White House Press Secretary
Promises      ‘Trust    and    Transparency,’    FORBES     (Jan.   20,    2021),
https://tinyurl.com/2p8729wz.


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      8.       “Timely disclosure of records is also essential to the core purpose of

FOIA.” U.S. Dep’t Just., Freedom of Information Act Guidelines (Mar. 15, 2022),

https://tinyurl.com/2yd463dv.

      9.       Yet, questions remain about whether the individuals selected to lead

various agencies have adequate qualifications, and whether they have conflicts of

interest that should preclude them from serving in those positions.

      10.      To ensure transparency, the Government must be open about the

backgrounds and qualifications of individuals selected to lead agencies, including

Education.

      11.      Importantly, that includes sufficient information to assure citizens that

those selected to lead various agencies are not influenced by conflicts of interest from

previous experiences.

                                 AFL’S FOIA REQUEST

      12.      To better understand the backgrounds of individuals hired at Education,

AFL submitted a FOIA request to Education on July 16, 2021. See Ex. A.

      13.      In that request, AFL sought:

            A. Records sufficient to identify all employees who entered into a position
               at the agency as a Political Appointee since January 20, 2021, to the
               date this records request is processed, and the title or position of each
               employee (to the extent that individuals have held multiple positions
               during this time period, identify each title or position and the time
               period it was held).

            B. Records sufficient to identify all career employees who, between
               January 20, 2021, and the date this records request is processed, have
               been detailed to 1) a position eligible to be filled by a Political Appointee,
               or 2) a new position through coordination or consultation with either the
               White House Liaison or Presidential Personnel Office; the title or



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               position of each employee while on detail; and each employee’s
               originating agency or component, and prior title.

            C. For each individual identified in response to Requests 1 and 2 provide:

                  1. The resume provided by the individual to the agency in
                     connection with determining the appropriate salary for the
                     individual, or if that is not available, a recent resume contained
                     within the agency’s records. AFL has no objection to the redaction
                     of employee’s contact information, such as email, address, phone
                     numbers etc.; however, prior employment, education, and
                     descriptions of such experiences are not exempt and should be
                     produced.

                  2. Any waivers issued to the individual pursuant to 18 U.S.C.
                     § 208(b).

                  3. Any authorizations for the individual issued pursuant to 5 C.F.R.
                     § 2635.502.

                  4. Any Ethics Pledge waivers, issued pursuant to Section 3 of
                     Executive Order 13989 and Office of Government Ethics Legal
                     Advisory 21-04, received by the individual.

                  5. Any ethics agreement executed by the individual; any
                     Certification of Ethics Agreement Compliance; and any records
                     relating to any violation by an individual of his or her ethics
                     agreement.

                  6. Records reflecting any recusal determination made or issued for
                     the individual.

                  7. Copies of any SF-50 forms for the individual reflecting any change
                     in position, title, or salary, including when the employee starts or
                     leaves a position.

                  8. Completed Ethics Pledge for each individual.

      14.      AFL submitted its FOIA request to Education through the Department’s

online portal. See id.

      15.      This request also sought a fee waiver. See id.




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      16.    On July 16, 2021, Education sent AFL an e-mail acknowledging receipt

of the request and assigning it tracking number 21-02226-F. See Ex. B.

      17.    On August 3, 2021, Education sent AFL a letter stating that the request

had been “assigned to the Multiple Offices within the Department to search for

documents that may be responsive to your request.” Ex. C. Also, the letter stated

that Education had granted AFL’s fee waiver request. See id.

      18.    On August 13, 2021, Education sent AFL a letter stating that the

Department was “unable to provide an estimated completion date, but intended to

provide records on a rolling basis as they become available.” Ex. D.

      19.    On September 17, 2021, Education issued an interim response to AFL’s

FOIA request. See Ex. E. Specifically, Education released 379 pages of records from

its Office of Financial Operations, with portions withheld pursuant to FOIA

Exemption 6. See id. 2

      20.    In this letter, Education further informed AFL that it “is continuing to

process your request and your FOIA request remains open.”            Id.   Additionally,

Education did not identify any information about appeal rights for this interim

release, stating instead that the Department’s “final release letter will contain [that]

information[.]” Id.




2 In this lawsuit, AFL does not challenge this specific response, or the redactions
Education applied. Rather, AFL challenges the failure of Education to comply with
FOIA’s requirement that records be “made promptly available[.]” 5 U.S.C.
§ 552(a)(6)(C)(i).


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      21.      In the nearly ten months since, AFL has received no further response

from Education about its FOIA request.

      22.      By failing to make the requested records “promptly available,” 5 U.S.C.

§ 552(a)(6)(C)(i), Education is depriving AFL and the public of vital information

needed to determine whether the individuals selected to lead Education have the

necessary qualifications and lack conflicts of interest that would influence their

decision making.

                                     COUNT I
                          Violation of FOIA, 5 U.S.C. § 552

      23.      AFL repeats the foregoing paragraphs as if set forth fully herein.

      24.      Education is an agency of the federal government within the meaning of

5 U.S.C. § 552(f).

      25.      By letter dated July 16, 2021, AFL submitted a FOIA request to

Education.

      26.      AFL’s FOIA request complied with all applicable statutes and

regulations.

      27.      The requested records are not exempt from FOIA pursuant to 5 U.S.C.

§ 552(b).

      28.      Education has failed to complete its response to AFL’s request within

the statutory time-period. See 5 U.S.C. § 552(a)(6).

      29.      Education has failed to “ma[ke] promptly available” the requested

records. 5 U.S.C. § 552(a)(6)(C)(i)




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      30.      Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(6)(C).

      31.      By failing to issue a final response, or otherwise offer a reasonable

schedule for production, Education has violated FOIA. See 5 U.S.C. § 552(a)(3)(A).

                               PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by the request, as described in the

foregoing paragraphs, must be disclosed pursuant to 5 U.S.C. § 552.

      ii.      Order Education to conduct searches immediately for all records

responsive to AFL’s FOIA request and demonstrate that they employed search

methods reasonably likely to lead to the discovery of responsive records.

      iii.     Order Education to produce by a date certain all non-exempt records

responsive to AFL’s FOIA request.

      iv.      Award AFL attorneys’ fees and costs incurred in this action pursuant to

5 U.S.C. § 552(a)(4)(E).

      v.       Grant AFL such other and further relief as this Court deems proper.

June 30, 2022                                  Respectfully submitted,

                                               /s/ Brian J. Field
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